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 1                                                                            FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON

 2
                                                                     Oct 26, 2016
 3                       UNITED STATES DISTRICT COURT SEAN F. M AVOY, CLERK      C


                        EASTERN DISTRICT OF WASHINGTON
 4
     CITY OF SPOKANE, a municipal                No. 2:15-CV-00201-SMJ
 5   corporation, located in the County of
     Spokane, State of Washington, ,
 6                                               ORDER GRANTING IN PART
                              Plaintiff,         AND DENYING IN PART
 7                                               DEFENDANTS’ MOTION TO
                 v.                              DISMISS FOR FAILURE TO
 8                                               STATE A CLAIM
     MONSANTO COMPANY, SOLUTIA
 9   INC., and PHARMACIA
     CORPORATION, and DOES 1 through
10   100,

11                            Defendants.

12
                                    I.       Introduction
13
           Polychlorinated biphenyls (PCBs) are synthetic chemical compounds that
14
     were widely produced and used during much of the twentieth century for various
15
     industrial and commercial applications before they were mostly banned in 1979.
16
     The production, use, and disposal of PCBs has resulted in widespread
17
     environmental contamination, including contamination of the Spokane River. The
18
     potential adverse environmental and human health effects of PCB contamination
19
     and exposure are well known. The Spokane River contains elevated levels of PCBs
20
     in surface water, sediments, and fish tissues and the City of Spokane’s (Spokane)


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 1   wastewater and stormwater discharges are a significant source of that

 2   contamination. Spokane faces significant costs to sufficiently reduce the level of

 3   PCBs it discharges into the River. Spokane alleges that PCBs have leached or

 4   migrated from their original places of use and intended application into the

 5   environment in and around Spokane and that Spokane’s wastewater and stormwater

 6   systems consequently collect and transport PCBs to the River.

 7         Spokane filed this action against the defendants (collectively Monsanto), who

 8   Spokane alleges produced, marketed, and distributed most of the PCBs in the

 9   United States, alleging that Monsanto is liable for the costs of cleaning up PCB

10   contamination and reducing PCB discharge from Spokane’s wastewater and

11   stormwater systems under public nuisance, products liability, negligence, and

12   equitable indemnity theories. Before the Court is Monsanto’s motion to dismiss

13   each of these claims on the basis that (1) all of Spokane’s claims are time barred;

14   (2) Spokane lacks standing to bring a products liability action; (3) Spokane’s

15   common-law claims are preempted by the Washington Products Liability Act; (4)

16   Spokane lacks standing to bring a public nuisance claim; (5) Spokane has failed to

17   allege proximate causation; (6) Spokane fails to state a claim for negligence; (7) the

18   common law equitable indemnity cause of action has been abolished in

19   Washington; and (8) Spokane’s damages are too speculative. ECF No. 29. As

20   discussed below, Monsanto has not demonstrated that any of Spokane’s claims are




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 1   time barred because the continuing tort doctrine may apply to some or all claims;

 2   Spokane has standing to assert each of its claims, except for its common-law

 3   products liability claims, for which it lacks standing because it is not a user or

 4   consumer under Washington law; and Spokane has stated claims for public

 5   nuisance, products liability under the Washington Products Liability Act,

 6   negligence, and equitable indemnity sufficient to survive a Rule 12(b)(6) motion to

 7   dismiss. Additionally, the damages issues raised by Monsanto cannot be determined

 8   as a matter of law at this stage. Accordingly, Monsanto’s motion to dismiss is

 9   granted with respect to Spokane’s common-law products liability claims and denied

10   with respect to all other claims. 1

11                                     II.   Background

12           PCBs are synthetic chemical compounds used in many industrial and

13   commercial applications. ECF No. 1 at 2–3. PCBs easily migrate out of their

14   original source material and contaminate nearby surfaces, air, water, soil or other

15   materials. ECF No. 1 at 12. PCBs migrate into natural water bodies through runoff

16   during storm and rain events. ECF No. 1 at 2–3. PCB exposure is associated with

17   cancer and a number of other serious health conditions in humans. ECF No. 1 at 2,

18

19
     1
      Spokane also moved to strike a Monsanto’s notice of supplemental authority, ECF
20   No. 62. The Court denied this motion in an oral ruling on the record on Tuesday,
     September 13, 2016. ECF No. 72 at 4.


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 1   4, 13–15. PCBs are also harmful to fish, birds, and other animals. ECF No. 1 at 2,

 2   14–15.

 3         The most common trade name for PCBs in the United States was Monsanto’s

 4   “Aroclor.” ECF No. 1 at 11. Monsanto produced PCBs in the United States from

 5   1935 until 1979, when the manufacture and most uses of PCBs was banned by the

 6   Toxic Substances Control Act. ECF No. 1 at 2. Spokane alleges that Monsanto was

 7   aware for decades that PCBs were toxic and that they were contaminating natural

 8   resources and living organisms. ECF No. 1 at 2, 16–25. Alarmingly, Monsanto was

 9   already aware in 1937 that “prolonged exposure to Aroclor vapors evolved at high

10   temperatures or by repeated oral ingestion will lead to systemic toxic effects.” ECF

11   No. 1 at 16. Numerous internal communications and reports in the 1950s and 60s

12   similarly document Monsanto’s awareness of the toxic effects of PCBs. ECF No. 1

13   at 16–17. Additionally, publications and internal communications in the 1960s and

14   1970s demonstrate Monsanto’s awareness that PCBs were widely contaminating

15   the environment around the world. ECF No. 1 at 18–22. Spokane further alleges

16   that Monsanto actively concealed the toxic nature of PCBs from the government

17   and the public. ECF No. 1 at 25–27.

18         The Spokane River is contaminated with PCBs and listed on the Washington

19   State Water Quality Assessment list of impaired water bodies under section 303(d)

20   of the Clean Water Act (CWA). ECF No. 1 at 4. The Spokane River contains




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 1   elevated levels of PCBs in surface water, sediments, and fish tissues, and the

 2   Washington Department of Ecology has issued a Health Advisory for Spokane

 3   River Fish Consumption, including designating some sections of the river as “catch

 4   and release only.” ECF No. 1 at 4.

 5         The City of Spokane lawfully discharges waste and stormwater into the

 6   Spokane River pursuant to two National Pollutant Discharge Elimination System

 7   (NPDES) permits. ECF No. 1 at 3. These permits require the City to establish

 8   performance-based PCB limits and to participate in the Spokane River Regional

 9   Toxics Task Force (the Task Force), which was established in 2011 to characterize

10   the sources of toxic chemicals in the Spokane River and identify and implement

11   appropriate actions needed to make progress towards meeting applicable water

12   quality standards. ECF No. 1 at 5.

13         Spokane filed this action in July 2015, alleging (1) that Monsanto’s conduct

14   constituted a public nuisance that is harmful to health and obstructs the free use of

15   the Spokane River causing harm to the City; (2) two products liability causes of

16   action, (a) design defect—that Monsanto’s PCBs were not reasonably safe at the

17   time they left Monsanto’s control, and (b) failure to warn; (3) negligence; and (4)

18   equitable indemnity for Spokane’s costs to remove PCBs from wastewater and

19   stormwater. ECF No. 1 at 27–34. Monsanto moves to dismiss all of Spokane’s

20   claims. ECF No. 29.




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 1                     III.   MOTION TO DISMISS STANDARD
           A claim may be dismissed pursuant to Rule 12(b)(6) either for lack of a
 2
     cognizable legal theory or failure to allege sufficient facts to support a cognizable
 3
     legal theory. Taylor v. Yee, 780 F.3d 928, 935 (9th Cir. 2015). “Threadbare recitals
 4
     of the elements of a cause of action, supported by mere conclusory statements, do
 5
     not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To survive a motion to
 6
     dismiss under Rule 12(b)(6), a complaint must allege “enough facts to state a claim
 7
     to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
 8
     (2007). A claim is plausible on its face when “the plaintiff pleads factual content
 9
     that allows the court to draw the reasonable inference that the defendant is liable for
10
     the misconduct alleged.” Iqbal, 556 U.S. at 678.
11
                                     IV.   DISCUSSION
12
     A.    Spokane’s Claims are not time barred.
13
           Monsanto argues that each of Spokane’s claims is time barred: Spokane’s
14
     nuisance claim is barred under the two-year “catch all” statute, RCW § 4.16.130;
15
     Spokane’s product liability and negligence claims are barred by the three-year
16
     statute of limitations, RCW § 4.16.080(2); and Spokane’s contribution claim is
17
     barred by the applicable one-year statute of limitations, RCW 4.22.050(3). ECF No.
18
     29 at 16–18. Monsanto argues that these claims began to accrue once Spokane
19
     suffered injury, which, at the latest occurred when the City’s permit for its
20



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 1   wastewater plant and combined sewer overflows were issued in June 2011. ECF

 2   No. 29 at 17–18.

 3         A claim may be dismissed as barred by the applicable statute of limitations

 4   only when it is apparent on the face of the complaint that the statute of limitations

 5   has run. Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969

 6   (2009). In other words, “[A] complaint cannot be dismissed unless it appears

 7   beyond doubt that the plaintiff can prove no set of facts that would establish the

 8   timeliness of the claim.” Id. (quoting Supermail Cargo, Inc., v. U.S., 68 F.3d 1204,

 9   1206 (9th Cir. 1995)).

10         Generally, the statute of limitations in a tort action begins to run at the time

11   the injury-producing act or omission occurs. See Matter of Estates of Hibbard, 826

12   P.2d 690, 694 (Wash. 1992). However, there are number of exceptions to this rule,

13   including the doctrine of continuing tort. Pac. Sound Res. v. Burlington N. Santa Fe

14   Ry. Corp., 125 P.3d 981, 989 (Wash. 2005). “When a tort is continuing, the ‘statute

15   of limitations runs from the date each successive cause of action accrues as

16   manifested by actual and substantial damages.’ A tort is continuing if the intrusive

17   condition is reasonably abatable and not permanent. The tort continues until the

18   intrusive substance is removed.” Id.; see also Fradkin v. Northshore Util. Dist., 977

19   P.2d 1265, 1267 (Wash. App. 1999) (“If a condition causing damage to land is

20



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 1   reasonably abatable, the statute of limitations does not bar an action for continuing

 2   trespass.”).

 3          Monsanto argues that the continuing-tort doctrine does not permit this action

 4   because Spokane was aware of its damages since at least 2011, at which point the

 5   claims began to accrue. ECF No. 38 at 4. But knowledge of an intrusive condition

 6   does not automatically begin the running of the statute of limitations. Fradkin, 977

 7   P.2d at 1269. As Washington courts have explained, “it would be inequitable . . . to

 8   estop a person from obtaining damages ‘for injuries which might eventually become

 9   burdensome, because he was not litigious enough to plunge into a lawsuit over a

10   trifling matter.” Id. (quoting Doran v. City of Seattle, 64 P. 230, 223 (1901)). It may

11   be that Spokane’s knowledge of the extent of its damages and of causation were

12   such that its claims accrued and the statute of limitations began to run at some time

13   before it filed the complaint in this case, but if that is the case, it is not clear on the

14   face of the complaint, and the Court certainly cannot say that it appears beyond

15   doubt that the statute of limitations has run.

16          Defendants also suggested at oral argument that the continuing-tort doctrine

17   is inapplicable because the PCB contamination at issue is not reasonably abatable,

18   focusing on the very high costs of such abatement. ECF No. 72 at 15–17.

19   Defendants are correct that “reasonably abatable” means that “the condition can be

20   removed without unreasonable hardship and expense.” Skokomish Indian Tribe v.




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 1   United States, 410 F.3d 506, 518 (9th Cir. 2005) (en banc) (quoting Fradkin, 977

 2   P.2d at 1270 n. 25). But the Ninth Circuit’s decision in Skokomish Indian Tribe does

 3   not, as Defendants suggest, stand for the proposition that a condition is not

 4   reasonably abatable simply because abatement will be very expensive. The court in

 5   that case held that river-bed aggradation resulting from diversions to a hydroelectric

 6   project causing periodic flooding and other damages to Skokomish property was

 7   not “reasonably abatable” because the total remediation costs of $3,770,500 far

 8   exceeded the $2,170,040 value of the damaged property. Id. Accordingly, it is clear

 9   from Skokomish that whether abatement is reasonable requires consideration of the

10   extent of the injury resulting from the condition and, if applicable, the value of the

11   damaged property. It is not the case that a defendant may avoid liability simply

12   because abatement would be very expensive or impose a financial hardship on the

13   defendant. Further, as the dissent in Skokomish points out, “abatability is not

14   necessarily a return to the status quo ante or a complete elimination of the problem.”

15   Id. at 521 (Graber, J., concurring in part and dissenting in part). Accordingly, even

16   if complete elimination of PCB discharge into the Spokane River may not be

17   possible or reasonable, Monsanto may still be liable under a continuing tort theory

18   if an adequate level of abatement is reasonable. Whether PCB contamination in the

19   Spokane River is reasonably abatable presents a factual question that cannot be

20   resolved at this stage of the litigation.




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 1   B.    Spokane’s common-law claims are not preempted by the Washington
           Products Liability Act.
 2
           Monsanto argues that all of Spokane’s common-law causes of action are
 3
     preempted by the Washington Product Liability Act (WPLA). ECF No. 29 at 7.
 4
           The WPLA defines a product liability claim as follows:
 5
           “Product liability claim” includes any claim or action brought for harm
 6         caused by the manufacture, production, making, construction,
           fabrication, design, formula, preparation, assembly, installation,
 7         testing, warnings, instructions, marketing, packaging, storage or
           labeling of the relevant product. It includes, but is not limited to, any
 8         claim or action previously based on: Strict liability in tort; negligence;
           breach of express or implied warranty; breach of, or failure to,
 9         discharge a duty to warn or instruct, whether negligent or innocent;
           misrepresentation, concealment, or nondisclosure, whether negligent
10         or innocent; or other claim or action previously based on any other
           substantive legal theory except fraud, intentionally caused harm or a
11         claim or action under the consumer protection act, chapter 19.86 RCW.

12   Wash. Rev. Code § 7.72.010 (4).

13         The Act creates a “single cause of action for product-related harms that

14   supplants previously existing common law remedies.” Wash. Water Power Co. v.

15   Graybar Elec. Co., 774 P.2d 1199, 1207 (Wash. 1989). However, the act does not

16   preempt common-law claims where substantially all of the injury-producing events

17   occurred prior to the WLPA’s effective date, June 26, 1981, even if the injury occurs

18   later. Macias v. Saberhagen Holdings, Inc., 282 P.3d 1069, 1073 (Wash. 2012).

19         Spokane argues that the WLPA does not preempt its common-law claims

20   because it has alleged that injury-producing events occurred before the WPLA’s




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 1   effective date. ECF No. 37 at 5. Krivanek v. Fibreboard Corp., 865 P.2d 527, 530

 2   (Wash. Ct. App. 1993). This is correct. The injury-producing events here were the

 3   manufacture and distribution of products containing PCBs. Most, if not all of those

 4   events occurred before the WLPA’s effective date. Accordingly, Spokane’s

 5   common-law claims are not preempted by the WLPA.

 6   C.    Spokane has standing to bring a products liability claim under the
           Washington Products Liability Act, but lacks standing to bring a
 7         common-law strict-liability claim.

 8         Monsanto argues that Spokane lacks standing to bring a products liability

 9   claim because it is not a consumer or user of the products at issue. ECF No. 29 at

10   12–13. Spokane argues that strict products liability extends to anyone whose

11   exposure to the product is reasonably foreseeable. ECF No. 37 at 9.

12         “Where . . . jurisdiction is predicated on diversity of citizenship, a plaintiff

13   must have standing under both Article III of the Constitution and applicable state

14   law in order to maintain a cause of action.” Mid-Hudson Catskill Rural Migrant

15   Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 173 (2d Cir. 2005); see, e.g.,

16   Cantrell v. City of Long Beach, 241 F.3d 674, 683 (9th Cir. 2001) (dismissing state-

17   law claims for lack of standing under California law). The parties do not appear to

18   dispute that Spokane has standing to bring its claims under Article III of the

19   Constitution, and clearly Article III standing is present: Spokane has suffered an

20   injury in fact that is fairly traceable to Monsanto’s conduct and that would likely be




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 1   redressed by a favorable decision. See Lujan v. Defenders of Wildlife, 504 U.S. 555,

 2   560–61 (1992). Rather, it appears that Monsanto is arguing that Spokane lacks

 3   standing to bring a products liability claim under Washington products liability law.

 4         The Washington Supreme court has established a two-part test for standing,

 5   under which a court must consider: (1) “whether the interest asserted is arguably

 6   within the zone of interests to be protected by the statute or constitutional guaranty

 7   in question” and (2) “whether the party seeking standing has suffered from an injury

 8   in fact, economic or otherwise.” Branson v. Port of Seattle, 101 P.3d 67, 74 (Wash.

 9   2004) (citations omitted). “When evaluating whether a party’s interests are within

10   the zone of interests a statute protects, [the court] look[s] to the statute’s general

11   purpose.” Tacoma Auto Mall, Inc. v. Nissan N. Am., Inc., 279 P.3d 487, 491 (Wash.

12   App. 2012) (citing Branson v. Port of Seattle, 101 P.3d at 74).

13         The complaint does not specify whether Spokane’s product liability claims

14   are common-law claims or claims brought under Washington’s Product Liability

15   Act (WPLA). In its response brief, Spokane asserts that the complaint states facts

16   supporting either a WPLA or common-law claim and that the WPLA applies to

17   claims where the injury producing event occurred after the Act’s effective date, July

18   26, 1981. ECF No. 37 at 4–5.

19         Monsanto has not identified, and the Court has not found, any authority

20   limiting WPLA claims to consumers or users of the products at issue. And, indeed




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 1   the statute expressly defines a “claimant” to include “any person or entity that

 2   suffers harm” and provides that “[a] claim may be asserted . . . even though the

 3   claimant did not buy the product from, or enter into any contractual relationship

 4   with, the product seller.” Wash. Rev. Code § 7.72.010(5). To the extent Spokane’s

 5   product liability claims arise from conduct occurring after July 26, 1981, Spokane

 6   has standing to assert those claims under the WPLA.

 7         To the extent Spokane’s products liability claims are common-law claims,

 8   the question of standing is more difficult. In early Washington products liability

 9   cases, Washington courts appeared to directly adopt the Restatement of Torts’

10   position on liability for defective, unreasonably dangerous products, under which a

11   seller is strictly liable for harm caused by the product “to the ultimate user or

12   consumer, or his property.” Ulmer v. Ford Motor Co., 452 P.2d 729, 733–34 (Wash.

13   1969) (citing Restatement (Second) of Torts § 402A (Am. Law Inst. 1965)). This

14   definition suggests that only a user or consumer (or someone with an interest in the

15   damaged property of a user or consumer) has standing to bring a claim. That

16   conclusion is bolstered by the comments to the Restatement, which note that courts

17   generally have not allowed recovery to “[c]asual bystanders, and others who may

18   come in contact with the product, as in the case of employees of the retailer, or a

19   passer-by injured by an exploding bottle, or a pedestrian hit by an automobile.”

20   Restatement (Second) of Torts, § 402A, Cmt. O. The comment explains:




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 1         There may be no essential reason why such plaintiffs should not be
           brought within the scope of the protection afforded, other than that they
 2         do not have the same reasons for expecting such protection as the
           consumer who buys a marketed product; but the social pressure which
 3         has been largely responsible for the development of the rule stated has
           been a consumers’ pressure, and there is not the same demand for the
 4         protection of casual strangers.

 5   However, more recent Washington cases omit from the elements of a products

 6   liability claim any direct requirement that a plaintiff be a user or consumer of the

 7   product in question: “a plaintiff must show (1) there was a defect in the product

 8   which existed when the product left the hands of the manufacturer; (2) the defect

 9   was not known to the user; (3) the defect rendered the product unreasonably

10   dangerous; and (4) the defect was the proximate cause of the injury.” Haugen v.

11   Minn. Mining and Mfg. Co., 550 P.2d 71, 74 (1976)); see also Novak v. Piggly

12   Wiggly Puget Sound Co., Inc., 591 P.2d 791, 794 (Wash. Ct. App. 1979); Bich v.

13   Gen. Elec. Co., 614 P.2d 1323, 1326 (Wash. Ct. App. 1980).

14         In Novak v. Piggly Wiggly, the Washington Court of Appeals implicitly

15   acknowledged that a plaintiff who was not a user or consumer could bring a

16   products liability claim based on a defective product. Novak, 591 P.2d at 794. In

17   that case, the court reviewed a summary judgment decision dismissing the claim of

18   a nine-year-old boy who was struck and blinded by a ricocheting BB fired by

19   another boy. Id. at 793. The court did not directly analyze whether the plaintiff had

20   standing to bring a claim; instead the court affirmed the trial court’s decisions that




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 1   the gun was not defective and that the manufacturer provided adequate warnings.

 2   Id. at 794–95. Importantly, however, in analyzing whether the gun was defective,

 3   the court noted that the manufacturer reasonably could have anticipated injury to a

 4   “bystander . . . by means of ricochet,” thereby acknowledging that a bystander under

 5   those circumstances may bring a products liability claim. Id. at 794.

 6         In Bich v. General Electric, the Washington Court of Appeals concluded that

 7   an electrician who was injured while replacing fuses in a transformer could bring a

 8   strict-liability claim against the manufacturer of the transformer. Bich, 614 P.2d at

 9   1325–26. Like other contemporaneous cases, Bich’s statement of the elements of a

10   strict-products liability action does not, on its face, exclude claims by a person other

11   than a user or consumer of a product. Id. at 1326. However, unlike in Novak, the

12   court considered an argument by the manufacturer that the plaintiff could not bring

13   a strict-liability action because he was not a user or consumer. Id. The court found

14   that the argument had no merit, not because liability could extend to injuries to non-

15   users or consumers, but because the definition of “user” includes “all whom a

16   manufacturer should reasonably expect to use its product, which includes

17   employees and repairmen.” Id.

18         In Lunsford v. Saberhagen, the court directly considered whether strict

19   products liability was limited to claims by users or consumers. 106 P.3d 808 (2005).

20   Specifically, the court considered whether the son of a man who worked with




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 1   asbestos insulation and who was exposed to asbestos dust on his father’s clothing

 2   could sue the asbestos manufacturer under a strict products liability theory.

 3   Lunsford, 106 P.3d at 809–10. The court noted that the Washington Court of

 4   Appeals in Novak and the Washington Supreme Court in Lockwood v. A C & S,

 5   Inc., 744 P.2d 605 (1987), assumed that certain bystanders may bring suit under a

 6   theory of strict liability. Lunsford, 106 P.3d at 811 n. 3. After further considering

 7   the comments to the Restatement and authority from other jurisdictions the court

 8   concluded that strict liability would apply to “a household family member of a user

 9   of an asbestos containing product, if it is reasonably foreseeable that household

10   members would be exposed in this manner.” Id. at 812.

11         Bich implies that, consistent with the Restatement, a person who is not a user

12   or consumer lacks standing to bring a strict products liability action. Bich, 614 P.2d

13   at 1326. But Novak and Lunsford are contrary to that implication, and establish that

14   Washington’s common-law strict products liability cause of action encompasses at

15   least a slightly broader class of potential plaintiffs, including certain bystanders.

16   Lunsford, 106 P.3d at 810–11; Novak, 591 P.2d at 794. This Court need not decide

17   the precise contours of the line between a Plaintiff who may bring a products-

18   liability claim as a non-user or consumer and one who may not because, wherever

19   that line is located, Spokane is well beyond it. Spokane was not a bystander in close

20   proximity to and directly injured by another’s use of a defective product like the




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 1   plaintiffs in Novak or Lunsford. Spokane is alleging injury based on the

 2   accumulated contamination resulting from leaching or migration of PCBs into its

 3   wastewater systems as the result of the use and disposal of an allegedly defective

 4   product over many years by multitudes of consumers. Spokane is not the type of

 5   plaintiff the common-law product defect cause of action is intended to encompass,

 6   and it therefore lacks standing to bring a common-law strict-liability claim.

 7   D.    Spokane has standing to assert a public nuisance claim.

 8         As discussed in Section IV.C., a plaintiff must have standing under both

 9   Article III of the Constitution and applicable state law in order to maintain a cause

10   of action. Mid-Hudson Catskill Rural Migrant Ministry, Inc., 418 F.3d at 173.

11   Standing to bring a claim under Washington law requires (1) that the plaintiff’s

12   asserted interests be within the zone of interest to be protected by the statute or

13   constitutional guaranty in question and (2) that the plaintiff has suffered an injury

14   in fact, Branson, 101 P.3d at 74. As with Spokane’s product liability claims, there

15   is no question that Spokane has Article III standing and that Spokane has suffered

16   injury. Accordingly, the question is whether Spokane’s claims fall within the zone

17   of interests to be protected by Washington nuisance law.

18         Washington Revised Code Section 7.48.120 defines nuisance as follows:

19         Nuisance consists in unlawfully doing an act, or omitting to perform
           a duty, which act or omission either annoys, injures or endangers the
20         comfort, repose, health or safety of others, offends decency, or
           unlawfully interferes with, obstructs or tends to obstruct, or render


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 1         dangerous for passage, any lake or navigable river, bay, stream, canal
           or basin, or any public park, square, street or highway; or in any way
 2         renders other persons insecure in life, or in the use of property.

 3   “A public nuisance is one which affects equally the rights of an entire community

 4   or neighborhood, although the extent of the damage may be unequal.” Wash. Rev.

 5   Code § 7.48.130. “The remedies against a public nuisance are: Indictment or

 6   information, a civil action, or abatement.” Id. at § 7.48.200. A public nuisance

 7   may be abated by an authorized public body, id. at § 7.48.220, but Spokane is not

 8   proceeding in that capacity; instead, this suit is a private civil action for damages.

 9   Generally, a nuisance action “may be brought by any person whose property is, or

10   whose patrons or employees are, injuriously affected or whose personal

11   enjoyment is lessened by the nuisance.” Id. at § 7.48.020. However, “[a] private

12   person may maintain a civil action for a public nuisance, if it is specially injurious

13   to himself or herself but not otherwise.” Id. § 7.48.210.

14         Monsanto argues that Spokane lacks the necessary ownership or property

15   interest in the Spokane River to assert a public nuisance claim, citing Section

16   7.48.020’s requirement that a nuisance action may be brought only by a person

17   whose property is injuriously affected. ECF No. 29 at 12. But Spokane’s alleged

18   special injury does not come from the ultimate contamination in the river, it arises

19   from Spokane’s position as the operator of municipal wastewater and stormwater

20   systems that facilitates the migration of PCBs into the river. Spokane alleges that




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 1   PCBs have contaminated its wastewater and stormwater systems, which serve as a

 2   conduit to discharge PCBs into the River, and that it will incur substantial costs to

 3   reduce its discharge of PCBs into the River. ECF No. 1 at 28–29. Spokane

 4   unquestionably has a sufficient property interests in its wastewater and stormwater

 5   systems to bring a nuisance action based on injurious effects to those systems. 2

 6            At oral argument, Monsanto suggested that Spokane cannot maintain its

 7   action based on injury to its stormwater and wastewater system because the

 8   alleged nuisance is contamination in the Spokane River. ECF No. 72 at 21–24.

 9   This argument misunderstands the nature of nuisance law and misrepresents

10   Spokane’s allegations. A nuisance is an act or omission that causes a specific type

11   of injury, not the fact of the injury itself. See Wash. Rev. Code § 7.48.120

12   (“Nuisance consists in unlawfully doing an act, or omitting to perform a

13   duty . . . .”); Miotke v. City of Spokane, 678 P.2d 803, 817–18 (Wash. 1984)

14   (noting that nuisance must be a “wrongful act”), overruled on other grounds by

15   Blue Sky Advocates v. State, 727 P.2d 644, 648–49 (Wash. 1986). Here, Spokane

16   alleges that Monsanto’s production, marketing, and distribution of PCBs resulted

17

18   2
       It is not clear whether Section 7.48.210’s special injury requirement for a civil
     action based on public nuisance incorporates Section 7.48.020’s requirement for
19   injury to property, patrons, or employees or whether Section 7.48.020 applies
     independently to require that a public-nuisance plaintiff allege injury to property,
20   patrons, or employees. There appear to be no cases on point. Because Spokane has
     alleged injury to its property, it is unnecessary to address these questions.


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 1   in environmental PCB contamination in and around the City of Spokane,

 2   ultimately leading to those PCBs migrating into the Spokane River and causing

 3   injury to health and safety and obstructing the use of the River. ECF No. 1 at 2–5,

 4   27–29. The public harm at issue here comes from PCBs reaching the River, but

 5   the nuisance itself is Monsanto’s production, marketing, and distribution of the

 6   PCBs. Spokane’s alleged injury is the cost it will incur to reduce the PCBs

 7   discharged from its stormwater and wastewater systems into the River. The

 8   complaint adequately alleges a causal connection between the public nuisance and

 9   this injury.

10          Spokane has adequately alleged special injury and therefore has standing to

11   bring a public nuisance claim.

12   E.     Spokane has adequately pleaded a causal connection between
            Monsanto’s actions and present PCB contamination.
13
            Proximate cause is a cause that “in a direct sequence unbroken by any new
14
     independent cause, produces the injury complained of, and without which such
15
     injury would not have happened.” Ass’n of Wash. Pub. Hosp. Dists. v. Philip
16
     Morris, Inc., 241 F.3d 696, 706–07 (9th Cir. 2001) (citations omitted). Under
17
     Washington law, proximate cause requires both that the defendant’s act not be
18
     “too remote and insubstantial to impose liability” and that there is no superseding
19
     cause sufficient to break the chain of causation. Michaels v. CH2M Hill, Inc., 257
20
     P.3d 532, 544–45 (Wash. 2011); Smith v. Acme Paving Co., 558 P.2d 811, 816


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 1   (Wash. App. 1976). “Whether an act may be considered a superseding cause

 2   sufficient to relieve a defendant of liability depends on whether the intervening act

 3   can reasonably be foreseen by the defendant; only intervening acts which are not

 4   reasonably foreseeable are deemed superseding causes.” Micro Enhancement

 5   Intern., Inc. v. Coopers & Lybrand, LLP, 40 P.3d 1206, 1216 (Wash. Ct. App.

 6   2002) (quoting Anderson v. Dreis & Krump Mfg. Corp., 739 P.2d 1177 (Wash. Ct.

 7   App. 1987)). “Whether an intervening act breaks the chain of causation is a

 8   question for the trier of fact.” Michaels v. CH2M Hill, Inc., 257 P.3d at 545.

 9         Monsanto argues that Spokane’s allegation that “Monsanto manufactured,

10   distributed, marketed and promoted PCBs in a manner that created or participated

11   in creating a public nuisance” is insufficient to allege proximate cause, noting that

12   the complaint is silent concerning the “thousands of intervening actors (i.e., the

13   City’s customers) who actually disposed of PCBs and PCB-containing materials

14   in a manner to reach the River, and information concerning how such discharges

15   occur. ECF No. 29 at 9. Monsanto argues that it has never been identified as a

16   discharger of PCBs in or around the Spokane area. ECF No. 29 at 5.

17         Under the facts alleged in Spokane’s complaint, the causal chain between

18   Monsanto’s production and distribution of PCBs and the injury at issue is not

19   broken by the intervening action of Spokane or a third party. First, Spokane

20   correctly points out that its water system “is a passive conduit for the




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 1   contamination—i.e., it merely directs water runoff into the stormwater system,

 2   which then discharges into the river.” ECF No. 37 at 10. Second, PCB

 3   contamination of water bodies, including the Spokane River, was at least arguably

 4   foreseeable regardless of the intervening actions by consumers using PCB

 5   containing products. Spokane alleges that PCBs in the forms manufactured by

 6   Monsanto leach or move from their intended applications and migrate into waste

 7   streams. ECF No. 1–3, 12. In other words, Spokane does not allege that disposal

 8   or improper use of PCB-containing products resulted in contamination, it alleges

 9   that the chemical migrated into Spokane’s wastewater system and ultimately the

10   Spokane River even when, and regardless of whether, products containing PCBs

11   were used or disposed of as intended. It is easily inferred from the complaint’s

12   allegations that PCBs would foreseeably contaminate waterbodies in which PCB

13   containing products were widely used. Indeed, the complaint alleges that

14   Monsanto knew for a fact that widespread use of the PCBs it manufactured was

15   contaminating the environment.

16         This case is distinguishable from prior cases where courts have found

17   proximate cause lacking in public nuisance claims against Monsanto for PCB

18   contamination. In City of Bloomington v. Westinghouse Elec. Corp., 891 F.2d 611

19   (7th Cir. 1989), Bloomington sued Monsanto under a number of theories,

20   including nuisance, alleging that PCBs used by Westinghouse in the manufacture




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 1   of capacitors had contaminated that city’s landfill and sewage treatment plant. Id.

 2   at 613–14. The court held that Monsanto was not be liable because “Westinghouse

 3   was in control of the product purchased and was solely responsible for the

 4   nuisance it created by not safely disposing of the product.” Id. at 614. In other

 5   words, Westinghouse’s failure to properly dispose of the materials was an

 6   intervening cause. In Town of Westport v. Monsanto, 2015 WL 1321466, (D.

 7   Mass., Mar. 24, 2015), Westport sued Monsanto under nuisance and product

 8   liability theories for PCB contamination in city schools, among other claims. Id. at

 9   *1–2. Citing City of Bloomington, the court held that “because [Monsanto] did not

10   have the power or authority to maintain or abate these PCB-containing building

11   materials, they cannot be liable for a public nuisance.” Id. at * 4. Westport and

12   City of Bloomington involved contamination from specifically identified PCB-

13   containing materials. Here, by contrast the issue is widespread contamination from

14   the inevitable migration of PCBs into a waterbody.

15         Accepting the truth of the facts alleged in the complaint, Monsanto’s

16   actions were not too remote or insubstantial to impose liability and no

17   unforeseeable intervening cause broke the chain of causation between Monsanto’s

18   production, marketing, and distribution of PCBs and the existing and ongoing

19   contamination of the Spokane River.

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 1   F.    Spokane has stated a claim for negligence.

 2         Monsanto argues that it is not apparent from the complaint what duty

 3   Monsanto owed to the City. ECF No. 29 at 14. Monsanto further argues that it did

 4   not owe any duty to Spokane because manufacturers have a duty only to the

 5   consumer for the foreseeable harm from the use of a product. ECF No. 29 at 14

 6   (citing Novak, 591 P.2d at 795–96).

 7         There is no legitimate question of duty here. A manufacturer’s duty of care

 8   extends to the foreseeable range of danger created by its product. See Koker v.

 9   Armstrong Cork, Inc., 804 P.2d 659, 667–68 (Wash. Ct. App. 1991). The

10   complaint here adequately alleges not only that PCB contamination and the

11   damaging effects of that contamination was foreseeable, but that Monsanto in fact

12   knew that PCBs were toxic and contaminating the environment. The real question

13   here is proximate cause. As discussed above, Spokane has adequately pleaded

14   proximate causation.

15   G.     Equitable indemnity has not been abolished as a cause of action.

16         Monsanto argues that Spokane’s claim for equitable indemnity fails as a

17   matter of law because the claim has been abolished. ECF No. 29 at 15–16. “The

18   common law right of indemnity between active and passive tortfeasors is

19   abolished.” RCW § 4.22.040(3). However, the Washington Court of Appeals has

20   expressly held that, following the Tort Reform Act, an indemnity right remains




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 1   “where a legal duty exists between non-joint tortfeasors.” ECF No. 37 at 14 (citing

 2   Sabey v. Howard Johnson & Co., 5 P.3d 730, 738–39 (2000)). Spokane alleges that

 3   it is legally obligated to remove PCBs from wastewater and stormwater before

 4   discharging into the Spokane River and that Monsanto is responsible for

 5   contaminating the wastewater and stormwater. ECF No. 1 at 34. Together with the

 6   detailed factual allegations of the complaint, Spokane has adequately stated a claim

 7   for equitable indemnity.

 8   H.    Damages

 9         Monsanto argues that Spokane’s damages claim for clean-up costs associated

10   with compliance with its Clean Water Act permit are too speculative because a Total

11   Maximum Daily Load has not yet been set for PCB’s in the Spokane River. ECF

12   No. 29 at 18. Monsanto also argues that Spokane’s request for attorney’s fees should

13   be denied under Washington’s general rule against awarding attorney’s fees in the

14   absence of a contract, statute, or recognized ground of equity. ECF No. 29 at 20.

15   The Court is not in a position at this stage of the litigation to determine the

16   permissible extent of Spokane’s possible damages or whether a basis to award

17   attorney’s fees may arise in this case.

18                                  V.    CONCLUSION

19         For the reasons discussed, IT IS HEREBY ORDERED:

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 1         1.     Defendants’ Motion to Dismiss Plaintiff’s Complaint for Failure to

 2                State a Claim, ECF No. 29, is GRANTED IN PART and DENIED

 3                IN PART as follows:

 4                A.    Defendants’ motion to dismiss Plaintiff’s common-law

 5                      products-liability claims is GRANTED.

 6                B.    Defendants’ motion to dismiss Plaintiff’s public nuisance,

 7                      Washington Product Liability Act, negligence, and equitable

 8                      indemnity claims is DENIED.

 9         2.     Plaintiff’s Motion to Strike Notice of Supplemental Authority, ECF

10                No. 62, is DENIED.

11         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

12   provide copies to all counsel.

13         DATED this 26th day of October 2016.

14

15                      SALVADOR MENDOZA, JR.
                        United States District Judge
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